AR Aged Past Due (Detailed)                                Branch:     GALV03                           Customer:           C10545                                         Page:                  1 of 1
Company:       Galveston Ops                                                                            Aged On:            10/24/2019                                     Date:      10/24/2019 2:46 PM
User:          Swan, Dana

Statement Cycle ID        Last Statement Date        Description

MONTHLY                   9/30/2019                  Monthly

Customer                  Name
C10545                    77 American Petroleum Services

                                                                                                                                             Past Due
Doc.       Ref. Nbr.   Customer Ref./ Orig.     Branch         Doc. Date         Due Date    Current          1 - 30 Days            31 - 60 Days       61 - 90 Days   Over 90 Days             Balance
INVOICE    022234      Ref. Nbr.
                       022234                   GALV03         11/30/2018    12/30/2018          0.00                0.00                   0.00               0.00           71.75                71.75
INVOICE    022698      022698                   GALV03         12/31/2018     1/30/2019          0.00                0.00                   0.00               0.00           78.25                78.25
INVOICE    026415      026415                   GALV03         1/28/2019      2/27/2019          0.00                0.00                   0.00               0.00       28,000.00            28,000.00
INVOICE    026416      026416                   GALV03         2/28/2019      3/30/2019          0.00                0.00                   0.00               0.00       31,000.00            31,000.00
INVOICE    026417      026417                   GALV03         2/28/2019      3/30/2019          0.00                0.00                   0.00               0.00          138.50               138.50
INVOICE    026418      026418                   GALV03         3/31/2019      4/30/2019          0.00                0.00                   0.00               0.00       30,000.00            30,000.00
INVOICE    026419      026419                   GALV03         3/31/2019      4/30/2019          0.00                0.00                   0.00               0.00           75.50                75.50
INVOICE    026420      026420                   GALV03         4/30/2019      5/30/2019          0.00                0.00                   0.00               0.00       31,000.00            31,000.00
INVOICE    026421      026421                   GALV03         5/1/2019       5/31/2019          0.00                0.00                   0.00               0.00           22.25                22.25
INVOICE    026422      026422                   GALV03         5/31/2019      6/30/2019          0.00                0.00                   0.00               0.00       30,000.00            30,000.00
INVOICE    026423      026423                   GALV03         6/30/2019      7/30/2019          0.00                0.00                   0.00          31,000.00            0.00            31,000.00
INVOICE    026856      026856                   GALV03         7/31/2019      8/30/2019          0.00                0.00              31,000.00               0.00            0.00            31,000.00
INVOICE    027408      027408                   GALV03         8/31/2019      9/30/2019          0.00           31,000.00                   0.00               0.00            0.00            31,000.00
INVOICE    027682      027682                   GALV03         9/30/2019     10/30/2019     30,000.00                0.00                   0.00               0.00            0.00            30,000.00
                                                               Customer Total:              30,000.00           31,000.00              31,000.00          31,000.00      150,386.25          273,386.25

                                                               Statement Cycle Total:       30,000.00           31,000.00              31,000.00          31,000.00      150,386.25          273,386.25
                                                               Company Total:                                                                                                                273,386.25
                                                                                                                                                                                                           Case 3:19-cv-00383 Document 1-3 Filed on 11/18/19EXHIBIT
                                                                                                                                                                                                                                                            in TXSD Page
                                                                                                                                                                                                                                                                     3 1 of 3
Case 3:19-cv-00383 Document 1-3 Filed on 11/18/19 in TXSD Page 2 of 3
Case 3:19-cv-00383 Document 1-3 Filed on 11/18/19 in TXSD Page 3 of 3
